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                 UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION


QUICKVAULT, INC.,

               Plaintiff,                      Case No.: 1:24-cv-00864

    v.

BROADCOM INC., d/b/a BROADCOM               JURY TRIAL DEMANDED
CORPORATION

               Defendant.




                      EXHIBIT L

    ’125 Patent Infringement Claim Chart
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                         EXHIBIT L: U.S. PATENT NO. 11,895,125 INFRINGEMENT CLAIM CHART1

            Claim 1                                                Symantec Enterprise Cloud

    A computing system         The preamble is presumptively not limiting. To the extent the preamble is limiting, Symantec
    comprising                 Enterprise Cloud is a computing system.




                               (https://www.broadcom.com/products/cybersecurity)




1
 The evidence of infringement identified in the below chart is exemplary and nonlimiting. QuickVault reserves the right to rely on
additional and/or alternative aspects of Symantec Enterprise Cloud and related components during this litigation for the purpose of
establishing infringement.
                                                                  1
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Claim 1                                        Symantec Enterprise Cloud




             (https://docs.broadcom.com/doc/data-loss-prevention-family-en)




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          Claim 1                                                 Symantec Enterprise Cloud

one or more network
devices, the one or more
network devices comprising
one or more
microprocessors and one or
more memories that store
executable instructions that,
when executed by the one
or more microprocessors,
facilitate performance of
operations, comprising:




                                (https://docs.broadcom.com/doc/data-loss-prevention-family-en)




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receiving meta data
associated with an
electronic file stored at an
endpoint,




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          Claim 1                                                Symantec Enterprise Cloud
                               (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
                               prevention/16-0-1/about-discovering-and-preventing-data-loss-on-endp-v98548126-d294e27/about-
                               scanning-v16318536-d294e26629.html)

the meta data comprising:
one or more of a file name
associated with the
electronic file, a creation
date on which the electronic
file was created, a
modification date on which
the electronic file was
modified, one or more data
element tags, and an
endpoint identifier that is
indicative of the endpoint
on which the electronic file
is stored;
                               (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
                               prevention/16-0-1/about-data-loss-prevention-policies-v27576413-d327e9/supported-file-formats-
                               for-metadata-extraction-v77411276-d327e136440/about-document-metadata-detection-v77411550-
                               d327e136433.html)




                                                                5
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Claim 1                                   Symantec Enterprise Cloud




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Claim 1                                   Symantec Enterprise Cloud




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Claim 1                                         Symantec Enterprise Cloud




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/15-8/about-managing-servers-v15599809-d297e16684/collecting-server-logs-and-
              configuration-files-v33480324-d297e24269.html)




                                               9
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    (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
    prevention/16-0-1/maintaining-the-system/understanding-underlying-system-resources-v15258948-
    d363e192/about-dlp-agent-logs-v75416710-d294e15012.html)




                                       10
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                               11
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    (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
    prevention/16-0-1/about-data-loss-prevention-policies-v27576413-d327e9/configuring-endpoint-event-
    detection-conditions-v85252962-d327e125553/gathering-endpoint-device-ids-for-removable-device-
    v42760780-d327e126068.html)




    (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
    prevention/16-0-2/about-data-loss-prevention-policy-authoring/detecting-data-loss.html)




    (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
    prevention/16-0-2/about-data-loss-prevention-policy-authoring/detecting-data-loss/content-that-can-
    be-detected.html)


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Claim 1                                          Symantec Enterprise Cloud




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0-2/about-data-loss-prevention-policy-authoring/detecting-data-loss/files-that-can-be-
              detected.html)




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analyzing the meta data
based on one or more of a
configured setting and a
policy;




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Claim 1                                         Symantec Enterprise Cloud
              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0-2/about-discovering-and-preventing-data-loss-on-endpoints.html)




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0-2/about-discovering-and-preventing-data-loss-on-endpoints/about-endpoint-prevent-
              monitoring.html)




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0/about-data-loss-prevention-policies-v27576413-d327e9/detecting-data-loss-
              v15598681-d327e1049/endpoint-events-that-can-be-detected-v40065947-d327e1125.html)


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Claim 1                                         Symantec Enterprise Cloud




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0/about-data-loss-prevention-policies-v27576413-d327e9/policy-matching-conditions-
              v40499624-d327e1698/endpoint-matching-conditions-v41286484-d327e2045.html#v41286484)


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Claim 1                                         Symantec Enterprise Cloud




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0-2/about-data-loss-prevention-policy-authoring.html)




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          Claim 1                                                Symantec Enterprise Cloud

determining, based on the
analyzing of the meta data,
a pattern of data use that
constitutes a deviation from
normal behavior, wherein
the deviation from normal
behavior is determined
based on a detected
significant number of new
electronic files related to
historical behavior for one
or more of a user, a set of
users, and the endpoint;




                               (https://docs.broadcom.com/doc/threat-prevention-and-data-protection)



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Claim 1                                          Symantec Enterprise Cloud




              (https://docs.broadcom.com/doc/security-analytics-appliances-en)




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Claim 1                                    Symantec Enterprise Cloud




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Claim 1                                         Symantec Enterprise Cloud




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/symantec-
              cloudsoc/cloud/detect-home/understanding-detectors/behavior-based-incident-detectors.html)




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         Claim 1                                                  Symantec Enterprise Cloud

and in response to
determining the deviation
from normal behavior,
performing one or more
responsive actions.




                                (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
                                prevention/16-0-2/response-rules-2/about-response-rule-execution-types.html)




                                                                 23
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Claim 1                                    Symantec Enterprise Cloud




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Claim 1                                         Symantec Enterprise Cloud




              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0-2/about-discovering-and-preventing-data-loss-on-endpoints/about-endpoint-
              flexresponse.html)




                                               25
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Claim 1                                         Symantec Enterprise Cloud

              (https://techdocs.broadcom.com/us/en/symantec-security-software/information-security/data-loss-
              prevention/16-0-2/response-rules-2/response-rule-actions-for-endpoint-detection.html)




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